          Case 17-31052            Doc 39       Filed 02/15/18 Entered 02/16/18 00:53:49                         Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 17-31052-edk
Richard M. Shove                                                                                           Chapter 7
Kathleen E. Shove
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0101-3                  User: agodere                      Page 1 of 1                          Date Rcvd: Feb 13, 2018
                                      Form ID: pdf012                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 15, 2018.
db/jdb          Richard M. Shove,   Kathleen E. Shove,   PO Box 392,   Lenox, MA 01240

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 15, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 13, 2018 at the address(es) listed below:
              Carrie Naatz     on behalf of Joint Debtor Kathleen E. Shove NaatzLaw@comcast.net,
               service@naatzlaw.com,court@naatzlaw.com
              Carrie Naatz     on behalf of Debtor Richard M. Shove NaatzLaw@comcast.net, service@naatzlaw.com,
               court@naatzlaw.com
              Jack E. Houghton    jhoughtonjr@aol.com, ma05@ecfcbis.com
              Joseph Dolben     on behalf of Creditor   THE BANK OF NEW YORK MELLON f/k/a THE BANK OF NEW YORK
               as Trustee for FIRST HORIZON ALTERNATIVE MORTGAGE SECURITIES TRUST 2006-FA1
               jdolben@mlg-defaultlaw.com, yfrails@mlg-defaultlaw.com;rdesrosiers@mlg-defaultlaw.com
              Kenneth P. Ferris    on behalf of Creditor Jose Hernandez kferris2@verizon.net
              Marcus Pratt     on behalf of Creditor   Wells Fargo Bank, National Association
               bankruptcy@KORDEASSOC.COM
              Richard King     USTPRegion01.WO.ECF@USDOJ.GOV
              Stephanie E. Babin    on behalf of Creditor    Citibank, N.A., not in its individual capacity, but
               solely as trustee of NRZ Pass-Through Trust VI sbabin@orlans.com,
               ANHSOM@4stechnologies.com;bankruptcyNE@orlans.com;sbabinECF@gmail.com
                                                                                              TOTAL: 8
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